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 6

 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10      THANE CHARMAN, an individual,       Case No. 23-cv-0959-BAS-KSC
11           Plaintiff,
                                            DEFENDANTS DESERT LAKE
12      v.                                  GROUP, LLC AND CHRIS TIRRELL
                                            ARMSTRONG’S MEMORANDUM
13      DESERT LAKE GROUP, LLC d/b/a        OF POINTS AND AUTHORITIES IN
        FIRST CLASS HERB TINCTURE,          SUPPORT OF MOTION TO
14      d/b/a FIRST CLASS                   DISMISS PLAINTIFF’S AMENDED
        HERBALISTCBD, d/b/a FIRST           COMPLAINT UNDER FRCP RULE
15      CLASSHERBALIST OILS, d/b/a          12(b)(6)
        USAHERBALIST OILS, BENSON
16      CHRISTOPHER HUNTER, an
        individual; CHRIS TIRRELL           Date:       February 26, 2024
17      ARMSTRONG, an individual;           Judge:      Cynthia Bashant
        DARIN EDWARD TOONE, an              Ct Rm:      12B
18      individual, JONATHAN KENT
        VIRGIN, an individual, NICHOLAS     NO ORAL ARGUMENT UNLESS
19      LANE JESSEN, an individual; and     ORDERED BY THE COURT
        RYAN DEAN HOGGAN, an
20      individual,
21           Defendants.
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 1                                   I. INTRODUCTION
 2           Plaintiff Thane Charman (“Plaintiff”) filed the initial Complaint in this matter
 3     on May 25, 2023 alleging violations of the Telephone Consumer Protection Act
 4     (“TCPA”) against Defendant Desert Lake Group, LLC (Desert Lake). Dkt No. 1. On
 5     October 16, 2023, Plaintiff filed a First Amended Complaint (“FAC”) adding
 6     individual defendants Benson Christopher Hunter, Chris Tirrell Armstrong, Darin
 7     Edward Toone, Jared C. Forbush; Jonathan Kent Virgin, Nicolas Anthony Armstrong,
 8     and Nicholas Lane Jessen (collectively, “Individual Defendants”). Dkt No. 6.
 9           This Court should dismiss Plaintiff’s claims because Desert Lake’s Chapter 11
10     Bankruptcy proceedings resulted in a discharge and a permanent injunction that bars
11     Plaintiff’s claims. Specifically, the Bankruptcy Court’s September 30, 2020 Order
12     Confirming Debtor’s Plan Under Subchapter V of Chapter 11 (“Confirmation Order”)
13     bars any person from bringing claims that arose before October 15, 2020. See
14     Confirmation Order (Request for Judicial Notice [“RJN”] Ex. 2), Exhibit 1, Confirmed
15     Plan, ¶¶ 13.1–13.4; see also Final Decree (RJN, Ex. 3), ¶ E. Desert Lake’s discharge
16     and the Confirmation Order expressly enjoin the commencement or continuation of
17     the present action.
18           Plaintiff’s claims against individual defendant Chris Tirrell Armstrong (“Mr.
19     Armstrong”) also should be dismissed under Rule 12(b)(6) for failure to state a claim
20     upon which relief can be granted for two reasons. First, to the extent Plaintiff seeks
21     to hold the Individual Defendants vicariously liable for the acts and/or omissions of
22     Desert Lake, such claims are subject to and barred by the permanent injunctions under
23     the confirmed Chapter 11 plan. Second, Plaintiff’s FAC fails to plead facts sufficient
24     to hold Mr. Armstrong, or any of the Individual Defendants, personally liable for the
25     alleged TCPA violations. Thus, this Court should dismiss Plaintiff’s FAC in its
26     entirety.
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 1                                   II. BACKGROUND
 2     A.   Plaintiff’s Claims.
 3           Plaintiff alleges he received nine (9) unauthorized automated text messages to
 4     his personal cell phone in violation of the TCPA. FAC ¶¶ 22, 28. The text messages
 5     allegedly were received between January 25, 2020 and July 28, 2020. FAC ¶ 28. All
 6     of Plaintiff’s allegations relate to “Defendant”—defined by Plaintiff as Desert Lake
 7     Group, LLC. See FAC ¶¶ 2, 24–37, 41–43. Plaintiff does not allege any wrongdoing
 8     by any of the Individual Defendants. Specifically, the FAC fails to allege that any of
 9     the Individual Defendants had any direct, personal participation in or personally
10     authorized the conduct alleged to have violated the TCPA. See generally, FAC.
11     B.   Desert Lake’s Chapter 11 Bankruptcy.
12           On April 24, 2020, Desert Lake filed for Chapter 11 Bankruptcy in the United
13     States Bankruptcy Court for the District of Utah, thereby initiating Bankruptcy Case
14     No. 20-22496. Bankruptcy Filing (RJN, Ex. 1). On July 23, 2020, Desert Lake
15     submitted its Chapter 11 Plan (the “Plan” or “Confirmed Plan”), which the Bankruptcy
16     Court confirmed on September 30, 2020. Confirmation Order, RJN Ex. 2. Paragraph
17     4 of the Confirmation Order provides:
18          As of the Effective Date of the Confirmed Plan and pursuant to § 1141(d),
            the Debtor shall be, and hereby is, DISCHARGED of and from any debt
19          that arose before the Effective Date, and any debt of a kind specified in §§
            502(g), 502(h) or 502(i). As of the Effective Date of the Confirmed Plan,
20          all persons and entities shall be, and hereby are, ENJOINED permanently
            from commencing or continuing, in any manner or in any place, any action
21          or other proceeding, whether directly, indirectly, derivatively or otherwise
            against the Debtor, its Estate or the Reorganized Debtor, on account of, or
22          respecting any claims, interests, debts, rights, Causes of Action or
            liabilities, except only to the extent expressly permitted under the
23          Confirmed Plan or this Confirmation Order.
24     Id. ¶ 4. Sections 13.1 and 13.2 of the Plan, attached to the Confirmation Order as
25     Exhibit 1, states the following:
26          13.1 Continuation of Injunctions or Stays until Effective Date. All
            injunctions or stays provided for in the Bankruptcy Cases under sections
27          105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
            Confirmation Date, shall remain in full force and effect until the Effective
28          Date. Further, unless the Plan provides otherwise, any injunctions or stays
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 1           ordered by the Bankruptcy Court shall continue in effect through and after
             the Effective Date.
 2
             13.2 Injunction Relating to the Plan. As of the Effective Date, all Persons
 3           are hereby permanently enjoined from commencing or continuing, in any
             manner or in any place, any action or other proceeding, whether directly,
 4           indirectly, derivatively, or otherwise against the Debtor or its Estate, on
             account of, or respecting any Claims, debts, rights, Causes of Action or
 5           liabilities discharged or treated pursuant to the Plan, except to the extent
             expressly permitted under the Plan. Upon entry of the Confirmation Order,
 6           all holders of Claims and Equity Interests and other parties in interest,
             along with their respective present, future, or former employees, agents,
 7           officers, directors, or principals, shall be enjoined from taking any actions
             to interfere with the implementation or consummation of the Plan. Further,
 8           except as otherwise expressly provided in the Plan or the Confirmation
             Order, all Persons who have held, hold, or may hold Claims against the
 9           Debtor, or who have held, hold or may hold any debt or interest relating to
             the Debtor, are permanently enjoined, from and after the Effective Date, to
10           the maximum extent permitted by law, from (i) commencing or continuing
             in any manner any action or other proceeding of any kind with respect to
11           any such Claim, debt or interest against Reorganized Debtor, or (ii)
             enforcing, attaching, collecting or recovering by any manner or means any
12           judgment, award, decree or order against the immediate or any mediate
             transferee of any property distributed pursuant to the Plan or of any
13           putative securities, based upon a claim that the transferor’s receipt of such
             property constituted a fraudulent conveyance, preference, violation of bulk
14           sales or other law, or based upon any other claim that receipt and or
             distribution of property by transfer pursuant to the Plan is wrongful,
15           whether in law or equity.
16     Id. ¶¶ 13.1, 13.2.
17           Paragraph E of the Final Decree states that the Effective Date occurred on
18     October 15, 2020. Final Decree, RJN Ex. 3.
19                                 III. LEGAL STANDARD
20           A motion to dismiss under Rule 12(b)(6) tests the sufficiency of a complaint.
21     Navarro v. Block, 250 F.3d 729, 732 (9th Cir. 2001). Dismissal is proper where there
22     is either a “lack of a cognizable legal theory” or “the absence of sufficient facts alleged
23     under a cognizable legal theory.” Balisteri v. Pacifica Police Dept., 901 F.2d 696, 699
24     (9th Cir. 1990). To survive a motion to dismiss, the plaintiff must allege “enough facts
25     to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550
26     U.S. 544, 569 (2007).
27           As the Supreme Court has said, “the pleading standard Rule 8 announces does
28     not require ‘detailed factual allegations,’ but it demands more than an unadorned, the-
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 1     defendant-unlawfully-harmed-me accusation. A pleading that offers ‘labels and
 2     conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not
 3     do.’ Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further
 4     factual enhancement.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plaintiff must
 5     set forth “well pleaded” facts (versus bare legal conclusions) that, if true, “raise a right
 6     to relief above the speculative level.” Twombly, 550 U.S. at 545. “[F]or a complaint
 7     to survive a motion to dismiss, the non–conclusory ‘factual content,’ and reasonable
 8     inferences from that content, must be plausibly suggestive of a claim entitling the
 9     plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir. 2009).
10            In reviewing a motion to dismiss under Rule 12(b)(6), the Court must assume
11     the truth of all factual allegations and must construe all inferences from them in the
12     light most favorable to the nonmoving party. Thompson v. Davis, 295 F.3d 890, 895
13     (9th Cir. 2002); Cahill v. Liberty Mut. Ins. Co., 80 F.3d 336, 337-38 (9th Cir. 1996).
14     Legal conclusions, however, need not be taken as true merely because they are cast in
15     the form of factual allegations. Ileto v. Glock, Inc., 349 F.3d 1191, 1200 (9th Cir.
16     2003); W. Mining Council v. Watt, 643 F.2d 618, 624 (9th Cir. 1981); Ashcroft, 556
17     U.S. at 678 (“the Federal Rules do not require courts to credit a complaint’s conclusory
18     statements without reference to its factual context.”). If a plaintiff fails to state a claim,
19     the Court need not permit an attempt to amend a complaint if “it determines that the
20     pleading could not possibly be cured by allegation of other facts.” Cook, Perkiss &
21     Liehe, Inc. v. N. Cal. Collection Serv. Inc., 911 F.2d 242, 247 (9th Cir. 1990).
22                                      IV. ARGUMENT
23     A.    The Bankruptcy Court’s Confirmation of Desert Lake’s Bankruptcy Plan
             Discharged All Claims and Liabilities Incurred Prior to October 15, 2020.
24

25            The Bankruptcy Court’s confirmation of Desert Lake’s bankruptcy plan
26     discharged all claims and liabilities incurred prior to October 15, 2020, the Effective
27     Date of the Plan. Confirmation Order, RJN Ex. 2. Further, the Confirmation Order
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 1     and Confirmed Plan go beyond a statutory discharge. They include a broad injunction
 2     that bars Plaintiff’s claims.
 3           11 U.S.C. 524 describes the effect of a discharge as “void[ing] any judgment at
 4     any time obtained, to the extent that such judgment is a determination of the personal
 5     liability of the debtor with respect to any debt discharged” and it “operates as an
 6     injunction against the commencement or continuation of an action ... to collect,
 7     recover or offset any such debt ...” 11 U.S.C. 524(a).
 8           The Bankruptcy Code defines “debt” as a “liability on a claim.” 11 U.S.C.
 9     101(12). A “claim” is defined as “a right to payment, whether or not such right is
10     reduced to judgment, liquidated, unliquidated, undisputed, legal, equitable, secured,
11     or unsecured. 11 U.S.C. 101(5). The Bankruptcy Code evinces Congress’ intent, by
12     its use of this language, to adopt the broadest available definition of “claim.” Johnson
13     v. Home State Bank, 501 U.S. 78, 83 (1991); see also Stewart Foods, Inc. v. Broecker,
14     64 F.3d 141, 144 (4th Cir. 1995) (“Congress intended to adopt the broadest possible
15     definition of the term ‘claim,’ so that a bankruptcy case would deal with all the
16     debtor’s legal obligations.”).
17           Desert Lake filed for Chapter 11 bankruptcy on April 24, 2020. Bankruptcy
18     Filing, RJN Ex. 1. On July 23, 2020, Desert Lake submitted its Chapter 11 Plan, which
19     the Bankruptcy Court confirmed on September 30, 2020. The Plan provides that “…
20     all Claims against the Debtor shall be released except as provided by the Plan.”
21     Confirmation Order, RJN Ex. 2, Ex. 1 § 5.7.
22           Paragraph 4 of the Confirmation Order states that “as of the Effective Date of
23     the Confirmed Plan ... the Debtor shall be, and hereby is, DISCHARGED of and from
24     any debt that arose before the Effective Date…” Confirmation Order ¶ 4, RJN Ex. 2.
25     Paragraph 4 goes on to say that “[a]s of the Effective Date of the Confirmed Plan, all
26     persons and entities shall be, and hereby are, ENJOINED permanently from
27     commencing or continuing, in any manner or in any place, any action or other
28     proceeding, whether directly, indirectly, derivatively or otherwise against the
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 1     Debtor, its Estate or the Reorganized Debtor, on account of, or respecting any claims,
 2     interests, debts, rights, Causes of Action or liabilities, except only to the extent
 3     expressly permitted under the Confirmed Plan or this Confirmation Order.”
 4     Confirmation Order ¶ 4, RJN Ex. 1 (emphasis added).
 5           Here, Plaintiff’s claims relate to each alleged text message Plaintiff received,
 6     and each of those claims accrued on the date that he received each message. Plaintiff
 7     received all the alleged text messages between January 25, 2020 and July 28, 2020.
 8     Because each of the alleged text messages occurred prior to the October 15, 2020
 9     Effective Date, Plaintiff’s claims are enjoined as a result of Desert Lake’s Chapter 11
10     Bankruptcy. Under the plain language of 11 U.S.C. 1141(d) and Desert Lake’s
11     Confirmed Plan, Desert Lake’s alleged liability for violations of the TCPA which
12     occurred before the Effective Date, have been discharged. Accordingly, each cause
13     of action asserted against Desert Lake must be dismissed.
14     B.   Plaintiff’s FAC Fails to Allege Facts Sufficient to State a Claim Under The
            TCPA.
15

16           Plaintiff alleges that nine (9) unauthorized automated text messages to his
17     personal cell phone violated the TCPA. FAC ¶¶ 22, 28. As alleged, the purported text
18     messages are not actionable under the United States Supreme Court’s narrow reading
19     of the TCPA.
20           In Facebook, Inc. v. Duguid, 141 S.Ct. 1163 (2021), the United States Supreme
21     Court adopted a narrow reading of the TCPA which excludes most modern dialing
22     technology that targets known lists of customers from the definition of “Automatic
23     telephone dialing system”. (Id. at 1167-1170.) The definition of ATDS is now a
24     narrow one, and it appears to exclude modern dialing technology (including predictive
25     dialers) that targets known lists of customers—and appears to apply only to seldom-
26     used robocalling machines with the capacity to dial numbers randomly or sequentially.
27     (Id. at 1171.) The court held: “to qualify as an ‘automatic telephone dialing system’
28     under the TCPA, a device must have the capacity either to store a telephone number
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 1   using a random or sequential number generator, or to produce a telephone number
 2   using a random or sequential number generator.” (Id. at 1167.) For a unanimous
 3   majority Justice Sotomayor wrote: “the question before the Court is whether [the
 4   ATDS] definition encompasses equipment that can ‘store’ and dial telephone numbers,
 5   even if the device does not ‘us[e] a random or sequential number generator.’ It does
 6   not.” (Id.)
 7         Moreover, in Trim v. Reward Zone USA LLC, 76 F.4th 1157 (9th Cir. 2023), the
 8   Ninth Circuit affirmed a trial court’s dismissal of a class action lawsuit alleging that
 9   mass marketing text messages violated the TCPA based on its holding that text
10   messages do not violate section 227 of the TCPA because they are not a “prerecorded
11   voice.” (Id. at 1163-1164.)
12         Here, the FAC is devoid of facts establishing that the alleged text messages at
13   issue could violate the TCPA. Specifically, the FAC contains no facts establishing
14   that the devices used to send the alleged text messages used any random or sequential
15   number generator. Thus, the FAC fails to state sufficient facts to establish that the
16   alleged text messages could be actionable under the TCPA.
17   C.   The Claims Against Mr. Armstrong Are Barred Because Plaintiff Does Not
          Allege Facts Sufficient to Support Individual Liability.
18

19         The claims against Mr. Armstrong, and the other Individual Defendants, are
20   also barred because the FAC fails to alleges facts sufficient to support individual
21   liability for violating the TCPA against Mr. Armstrong or any of the other Individual
22   Defendants for the same reason.
23         As a general rule of agency law, the personal liability of a corporate director or
24   officer must be “founded upon specific acts by the individual director or officer.”
25   Mora v. Zeta Interactive Corp., No. 116CV00198DADSAB, 2016 WL 3477222, at *2
26   (E.D. Cal. June 27, 2016) (quoting United States v. Reis, 366 Fed. Appx. 781, 782 (9th
27   Cir. 2010).
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 1         Though district courts have held that corporate actors may be held individually
 2   liable for violating the TCPA where they “had direct, personal participation in or
 3   personally authorized the conduct found to have violated the statute,” “corporate
 4   officers have not been found personally liable for such violations, [when] the evidence
 5   of the corporate officer’s direct participation in the wrongdoing has been lacking.” Id.
 6   at *2. “Obviously, no relief can be granted where a plaintiff does not assert any
 7   substantive causes of action against a particular defendant.” See Van Vechten v.
 8   Elenson, 2013 WL 359750, at *10 (S.D.Fla. Jan.29, 2013). “Nor does a complaint
 9   suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual enhancement.’”
10   Ashcroft, 556 U.S. at 678.
11         In Mais v. Gulf Coast Collection Bureau, Inc., No. 11-61936-CIV-SCOLA,
12   2013 WL 1283885 (S.D. Fla. Mar. 27, 2013) the plaintiff alleged that the individual
13   defendant was “vice president and 20% owner” and “controlled the policies and
14   practices of [Gulf Coast] regarding the TCPA and [who] authorized those policies and
15   practices complained of herein.” Id. at *1. Aside those allegations, the Complaint did
16   not name the individual defendant in any count and did not assert any cause of action
17   against him personally. Id. The court held that because the complaint made no other
18   factual allegations against the individual defendant, and failed to assert any cause of
19   action against him personally, the complaint did not satisfy the Rule 8 pleading
20   standard. Id.
21         The facts here are substantially similar. Plaintiff’s FAC does not allege Mr.
22   Armstrong’s role at Desert Lake, nor does it allege that Mr. Armstong had any direct
23   participation or direct control related to the alleged text messages. (And even if the
24   complaint included a “conclusory statement” to that effect without specific factual
25   enhancement, it would not suffice.) Accordingly, Plaintiff fails to sufficiently state a
26   claim against Mr. Armstong.
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 1         Moreover, allowing individual claims to proceed against Mr. Armstrong would
 2   be improper as it would force Desert Lake to indemnify him in an improper end-run
 3   around the Bankruptcy Court injunction against claims against Desert Lake.
 4         Therefore, Plaintiff’s FAC must also be dismissed under Rule 12(b)(6) as to Mr.
 5   Armstrong.
 6                                   V. CONCLUSION
 7         Plaintiff’s claims against Desert Lake must be dismissed because Plaintiff’s
 8   claims are enjoined as a result of Desert Lake’s Chapter 11 bankruptcy. Plaintiff’s
 9   claims against Mr. Armstrong must also be dismissed because Plaintiff fails to plead
10   facts sufficient to hold Mr. Armstrong individually liable for the TCPA violations.
11   Since Plaintiff’s FAC is completely devoid of any facts establishing liability on the
12   part of the Individual Defendants, Defendants Desert Lake and Mr. Armstrong request
13   that the Court dismiss Plaintiff’s FAC in its entirety.
14

15   Dated: January 15, 2024         CALDARELLI HEJMANOWSKI PAGE & LEER LLP
16
                                     By: /s/ Lee H. Hejmanowski
17                                     Lee E. Hejmanowski
                                       Micheal L. Wright
18
                                     Attorneys for Defendants DESERT LAKE GROUP,
19                                   LLC and CHRIS TIRRELL ARMSTRONG
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              DEFENDANTS’ MEMORANDUM ISO MOTION TO DISMISS
